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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NICHOLAS BONTRAGER,
individually and on behalf of all
others similarly situated,

Plaintiff,
V.

MORTGAGE SOLUTIONS FCS
INC., et al.,

Defendants.

 

 

 

Case No. 2:21-cv-04855-DSF-KS

STIPULATED PROTECTIVE
ORDER FOR STANDARD

LITIGATION & {PROPOSED}
ORDER

Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and based on

the parties’ proposed Stipulated Protective Order (“Stipulation”) filed on November

23, 2021, the terms of the protective order to which the parties have agreed are

adopted as a protective order of this Court (which generally shall govern the

pretrial phase of this action) except to the extent, as set forth below, that those

terms have been modified by the Court’s amendment of paragraphs 3, 12.3, and 14

of the Stipulation.

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Case No. 2:21-cv-04855-DSF-KS

STIP PROTECTIVE ORDER & {PROP,}
ORDER

 
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AGREED TERMS OF THE PROTECTIVE ORDER AS ADOPTED AND MODIFIED BY
THE COURT"

1. PURPOSES AND LIMITATIONS

Disclosure and discovery activity in this action are likely to involve
production of confidential, proprietary, or private information for which special
protection from public disclosure and from use for any purpose other than
prosecuting this litigation may be warranted. Accordingly, the parties hereby
stipulate to and petition the court to enter the following Stipulated Protective
Order. The parties acknowledge that this Order does not confer blanket
protections on all disclosures or responses to discovery and that the
protection it affords from public disclosure and use extends only to the limited
information or items that are entitled to confidential treatment under the
applicable legal principles. The parties further acknowledge, as set forth in
Section 12.3, below, that this Stipulated Protective Order does not entitle them
to file confidential information under seal; Civil Local Rule 79-5 sets forth the
procedures that must be followed and the standards that will be applied when
a party seeks permission from the court to file material under seal.

1.1 GOOD CAUSE STATEMENT

This action is likely to involve trade secrets, customer and pricing lists
and other valuable research, development, commercial, financial, technical
and/or proprietary information for which special protection from public
disclosure and from use for any purpose other than prosecution of this action
is warranted. Such confidential and proprietary materials and information
consist of, among other things, confidential business or financial information,
information regarding confidential business practices, or other confidential

 

1 The Court's additions to the agreed terms of the Protective Order are generally indicated in bold
typeface, and the Court's deletions are indicated by lines through the text being deleted.

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research, development, or commercial information (including information
implicating privacy rights of third parties), information otherwise generally
unavailable to the public, or which may be privileged or otherwise protected
from disclosure under state or federal statutes, court rules, case decisions, or
common law. Accordingly, to expedite the flow of information, to facilitate the
prompt resolution of disputes over confidentiality of discovery materials, to
adequately protect information the parties are entitled to keep confidential, to
ensure that the parties are permitted reasonable necessary uses of such
material in preparation for and in the conduct of trial, to address their handling
at the end of the litigation, and serve the ends of justice, a protective order for
such information is justified in this matter. It is the intent of the parties that
information will not be designated as confidential for tactical reasons and that
nothing be so designated without a good faith belief that it has been
maintained in a confidential, non-public manner, and there is good cause why
it should not be part of the public record of this case.

2. DEFINITIONS

2.1 Challenging Party: a Party or Non-Party that challenges the
designation of information or items under this Order.

2.2 “CONFIDENTIAL” Information or Items: information (regardless
of how it is generated, stored or maintained) or tangible things that qualify for
protection under Federal Rule of Civil Procedure 26(c).

2.3 Counsel (without qualifier): Outside Counsel of Record and
House Counsel (as well as their support staff).

2.4 Designating Party: a Party or Non-Party that designates
information or items that it produces in disclosures or in responses to
discovery as “CONFIDENTIAL.”

2.5 Disclosure _or Discovery Material: all items or information,
regardless of the medium or manner in which it is generated, stored, or

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maintained (including, among other things, testimony, transcripts, and
tangible things), that are produced or generated in disclosures or responses
to discovery in this matter.

2.6 Expert: a person with specialized knowledge or experience in a
matter pertinent to the litigation who has been retained by a Party or its
counsel to serve as an expert witness or as a consultant in this action.

2.7 House Counsel: attorneys who are employees of a party to this
action. House Counsel does not include Outside Counsel of Record or any
other outside counsel.

2.8 Non-Party: any natural person, partnership, corporation,
association, or other legal entity not named as a Party to this action.

2.9 Outside Counsel of Record: attorneys who are not employees of
a party to this action but are retained to represent or advise a party to this
action and have appeared in this action on behalf of that party or are affiliated
with a law firm which has appeared on behalf of that party.

2.10 Party: any party to this action, including all of its officers, directors,
employees, consultants, retained experts, and Outside Counsel of Record
(and their support staffs).

2.11 Producing Party: a Party or Non-Party that produces Disclosure
or Discovery Material in this action.

2.12 Professional Vendors: persons or entities that provide litigation
support services (e.g., photocopying, videotaping, translating, preparing
exhibits or demonstrations, and organizing, storing, or retrieving data in any
form or medium) and their employees and subcontractors.

2.13 Protected Material: any Disclosure or Discovery Material that is
designated as “CONFIDENTIAL.”

2.14 Receiving Party: a Party that receives Disclosure or Discovery
Material from a Producing Party.

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ORDER

 
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3. SCOPE
The protections conferred by this Stipulation and Order cover not only

 

Protected Material (as defined above), but also (1) any information copied or
extracted from Protected Material; (2) all copies, excerpts, summaries, or
compilations of Protected Material; and (3) any testimony, conversations, or
presentations by Parties or their Counsel that might reveal Protected Material.
However, the protections conferred by this Stipulation and Order do not cover
the following information: (a) any information that is in the public domain at
the time of disclosure to a Receiving Party or becomes part of the public
domain after its disclosure to a Receiving Party as a result of publication not
involving a violation of this Order, including becoming part of the public record
through trial or otherwise; and (b) any information known to the Receiving
Party prior to the disclosure or obtained by the Receiving Party after the
disclosure from a source who obtained the information lawfully and under no
obligation of confidentiality to the Designating Party. Any use of Protected
Material at trial shall be governed by a-separate-agreementororder the
orders of the trial judge. This Order does not govern the use of Protected
Material at trial.
4. DURATION

Even after final disposition of this litigation, the confidentiality obligations
imposed by this Order shall remain in effect until a Designating Party agrees
otherwise in writing or a court order otherwise directs. Final disposition shall
be deemed to be the later of (1) dismissal of all claims and defenses in this
action, with or without prejudice; and (2) final judgment herein after the
completion and exhaustion of all appeals, rehearings, remands, trials, or
reviews of this action, including the time limits for filing any motions or
applications for extension of time pursuant to applicable law.

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5. DESIGNATING PROTECTED MATERIAL

5.1 Exercise of Restraint_and Care in Designating Material for
Protection. Each Party or Non-Party that designates information or items for
protection under this Order must take care to limit any such designation to
specific material that qualifies under the appropriate standards. The
Designating Party must designate for protection only those parts of material,
documents, items, or oral or written communications that qualify — so that
other portions of the material, documents, items, or communications for which
protection is not warranted are not swept unjustifiably within the ambit of this
Order.

Mass, indiscriminate, or routinized designations are prohibited.
Designations that are shown to be clearly unjustified or that have been made
for an improper purpose (e.g., to unnecessarily encumber or retard the case
development process or to impose unnecessary expenses and burdens on
other parties) expose the Designating Party to sanctions.

If it comes to a Designating Party’s attention that information or items
that it designated for protection do not qualify for protection, that Designating
Party must promptly notify all other Parties that it is withdrawing the mistaken
designation.

5.2 Manner _and Timing of Designations. Except as otherwise
provided in this Order (see, e.g., second paragraph of section 5.2(a) below),
or as otherwise stipulated or ordered, Disclosure or Discovery Material that
qualifies for protection under this Order must be clearly so designated before
the material is disclosed or produced.

Designation in conformity with this Order requires:

(a) for information in documentary form (e.g., paper or electronic
documents, but excluding transcripts of depositions or other pretrial or trial
proceedings), that the Producing Party affix the legend “CONFIDENTIAL” to

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each page that contains protected material. If only a portion or portions of the
material on a page qualifies for protection, the Producing Party also must
clearly identify the protected portion(s) (e.g., by making appropriate markings
in the margins).

A Party or Non-Party that makes original documents or materials
available for inspection need not designate them for protection until after the
inspecting Party has indicated which material it would like copied and
produced. During the inspection and before the designation, all of the material
made available for inspection shall be deemed “CONFIDENTIAL.” After the
inspecting Party has identified the documents it wants copied and produced,
the Producing Party must determine which documents, or portions thereof,
qualify for protection under this Order. Then, before producing the specified
documents, the Producing Party must affix the “CONFIDENTIAL” legend to
each page that contains Protected Material. If only a portion or portions of the
material on a page qualifies for protection, the Producing Party also must
clearly identify the protected portion(s) (e.g., by making appropriate markings
in the margins).

(b) for testimony given in deposition or in other pretrial or trial
proceedings, that the Designating Party identify on the record, before the
close of the deposition, hearing, or other proceeding, all protected testimony.

(c) for information produced in some form other than documentary and
for any other tangible items, that the Producing Party affix ina prominent place
on the exterior of the container or containers in which the information or item
is stored the legend “CONFIDENTIAL.” If only a portion or portions of the
information or item warrant protection, the Producing Party, to the extent
practicable, shall identify the protected portion(s).

5.3 Inadvertent Failures to Designate. If timely corrected, an
inadvertent failure to designate qualified information or items does not,

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standing alone, waive the Designating Party’s right to secure protection under
this Order for such material. Upon timely correction of a designation, the
Receiving Party must make reasonable efforts to assure that the material is
treated in accordance with the provisions of this Order.

6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

6.1. Timing of Challenges. Any Party or Non-Party may challenge a
designation of confidentiality at any time. Unless a prompt challenge to a
Designating Party’s confidentiality designation is necessary to avoid
foreseeable, substantial unfairness, unnecessary economic burdens, or a
significant disruption or delay of the litigation, a Party does not waive its right
to challenge a confidentiality designation by electing not to mount a challenge
promptly after the original designation is disclosed.

6.2 Meet and Confer. The Challenging Party shall initiate the dispute
resolution process by providing written notice of each designation it is
challenging and describing the basis for each challenge. To avoid ambiguity
as to whether a challenge has been made, the written notice must recite that
the challenge to confidentiality is being made in accordance with this specific
paragraph of the Protective Order. The parties shall attempt to resolve each
challenge in good faith and must begin the process by conferring directly (in
voice to voice dialogue; other forms of communication are not sufficient) within
14 days of the date of service of notice. In conferring, the Challenging Party
must explain the basis for its belief that the confidentiality designation was not
proper and must give the Designating Party an opportunity to review the
designated material, to reconsider the circumstances, and, if no change in
designation is offered, to explain the basis for the chosen designation. A
Challenging Party may proceed to the next stage of the challenge process
only if it has engaged in this meet and confer process first or establishes that
the Designating Party is unwilling to participate in the meet and confer process

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in a timely manner.

6.3 Judicial Intervention. If the Parties cannot resolve a challenge
without court intervention, the Designating Party shall file and serve a motion
to retain confidentiality under Civil Local Rule 7 (and in compliance with Civil
Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge
or within 14 days of the parties agreeing that the meet and confer process will
not resolve their dispute, whichever is earlier. Each such motion must be
accompanied by a competent declaration affirming that the movant has
complied with the meet and confer requirements imposed in the preceding
paragraph. Failure by the Designating Party to make such a motion including
the required declaration within 21 days (or 14 days, if applicable) shall
automatically waive the confidentiality designation for each challenged
designation. In addition, the Challenging Party may file a motion challenging
a confidentiality designation at any time if there is good cause for doing so,
including a challenge to the designation of a deposition transcript or any
portions thereof. Any motion brought pursuant to this provision must be
accompanied by a competent declaration affirming that the movant has
complied with the meet and confer requirements imposed by the preceding
paragraph.

The burden of persuasion in any such challenge proceeding shall be on
the Designating Party. Frivolous challenges, and those made for an improper
purpose (e.g., to harass or impose unnecessary expenses and burdens on
other parties) may expose the Challenging Party to sanctions. Unless the
Designating Party has waived the confidentiality designation by failing to file
a motion to retain confidentiality as described above, all parties shall continue
to afford the material in question the level of protection to which it is entitled
under the Producing Party’s designation until the court rules on the challenge.

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7. ACCESS TO AND USE OF PROTECTED MATERIAL

7.1. Basic Principles. A Receiving Party may use Protected Material
that is disclosed or produced by another Party or by a Non-Party in connection
with this case only for prosecuting, defending, or attempting to settle this
litigation. Such Protected Material may be disclosed only to the categories of
persons and under the conditions described in this Order. When the litigation
has been terminated, a Receiving Party must comply with the provisions of
section 13 below (FINAL DISPOSITION).

Protected Material must be stored and maintained by a Receiving Party

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at a location and in a secure manner that ensures that access is limited to the

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persons authorized under this Order.
7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless
otherwise ordered by the court or permitted in writing by the Designating

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Party, a Receiving Party may disclose any information or item designated
“CONFIDENTIAL” only to:
(a) the Receiving Party’s Outside Counsel of Record in this action, as

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well as employees of said Outside Counsel of Record to whom it is reasonably

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necessary to disclose the information for this litigation and who have signed

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the “Acknowledgment and Agreement to Be Bound” that is attached hereto
as Exhibit A;
(b) the officers, directors, and employees (including House Counsel) of

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the Receiving Party to whom disclosure is reasonably necessary for this

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litigation and who have signed the “Acknowledgment and Agreement to Be
Bound” (Exhibit A);
(c) Experts (as defined in this Order) of the Receiving Party to whom

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disclosure is reasonably necessary for this litigation and who have signed the

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“Acknowledgment and Agreement to Be Bound” (Exhibit A);

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(d) the court and its personnel;

 

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(e) court reporters and their staff, professional jury or trial consultants,
mock jurors, and Professional Vendors to whom disclosure is reasonably
necessary for this litigation and who have signed the “Acknowledgment and
Agreement to Be Bound” (Exhibit A);

(f) during their depositions, witnesses in the action to whom disclosure
is reasonably necessary and who have signed the “Acknowledgment and
Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
Designating Party or ordered by the court. Pages of transcribed deposition
testimony or exhibits to depositions that reveal Protected Material must be
separately bound by the court reporter and may not be disclosed to anyone
except as permitted under this Stipulated Protective Order.

(g) the author or recipient of a document containing the information or
a custodian or other person who otherwise possessed or knew the
information.

8. PROTECTED MATERIAL SUBPOENAED OR ORDERED

PRODUCED IN OTHER LITIGATION

lf a Party is served with a subpoena or a court order issued in other
litigation that compels disclosure of any information or items designated in this
action as “CONFIDENTIAL,” that Party must:

(a) promptly notify in writing the Designating Party. Such notification
shall include a copy of the subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or
order to issue in the other litigation that some or all of the material covered by
the subpoena or order is subject to this Protective Order. Such notification
shall include a copy of this Stipulated Protective Order; and

(c) cooperate with respect to all reasonable procedures sought to be
pursued by the Designating Party whose Protected Material may be affected.

lf the Designating Party timely seeks a protective order, the Party

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served with the subpoena or court order shall not produce any information
designated in this action as “CONFIDENTIAL” before a determination by the
court from which the subpoena or order issued, unless the Party has obtained
the Designating Party’s permission. The Designating Party shall bear the
burden and expense of seeking protection in that court of its confidential
material — and nothing in these provisions should be construed as authorizing
or encouraging a Receiving Party in this action to disobey a lawful directive
from another court.

9. ANON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

PRODUCED IN THIS LITIGATION

(a) The terms of this Order are applicable to information produced by a
Non-Party in this action and designated as “CONFIDENTIAL.” Such
information produced by Non-Parties in connection with this litigation is
protected by the remedies and relief provided by this Order. Nothing in these
provisions should be construed as prohibiting a Non-Party from seeking
additional protections.

(b) In the event that a Party is required, by a valid discovery request, to
produce a Non-Party’s confidential information in its possession, and the
Party is subject to an agreement with the Non-Party not to produce the Non-
Party’s confidential information, then the Party shall:

(1) promptly notify in writing the Requesting Party and the Non-Party
that some or all of the information requested is subject to a confidentiality
agreement with a Non-Party;

(2) promptly provide the Non-Party with a copy of the Stipulated
Protective Order in this litigation, the relevant discovery request(s), and a
reasonably specific description of the information requested; and

(3) make the information requested available for inspection by the Non-
Party.

 

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(c) If the Non-Party fails to object or seek a protective order from this
court within 14 days of receiving the notice and accompanying information,
the Receiving Party may produce the Non-Party’s confidential information
responsive to the discovery request. If the Non-Party timely seeks a protective
order, the Receiving Party shall not produce any information in its possession
or control that is subject to the confidentiality agreement with the Non-Party
before a determination by the court. Absent a court order to the contrary, the
Non-Party shall bear the burden and expense of seeking protection in this
court of its Protected Material.

10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

lf a Receiving Party learns that, by inadvertence or otherwise, it has
disclosed Protected Material to any person or in any circumstance not
authorized under this Stipulated Protective Order, the Receiving Party must
immediately (a) notify in writing the Designating Party of the unauthorized
disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
Protected Material, (c) inform the person or persons to whom unauthorized
disclosures were made of all the terms of this Order, and (d) request such
person or persons to execute the “Acknowledgment and Agreement to Be
Bound” that is attached hereto as Exhibit A.

11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

PROTECTED MATERIAL

When a Producing Party gives notice to Receiving Parties that certain
inadvertently produced material is subject to a claim of privilege or other
protection, the obligations of the Receiving Parties are those set forth in
Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to
modify whatever procedure may be established in an e-discovery order that
provides for production without prior privilege review. Pursuant to Federal
Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement

 

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on the effect of disclosure of a communication or information covered by the
attorney-client privilege or work product protection, the parties may
incorporate their agreement in the stipulated protective order submitted to the
court.

12. MISCELLANEOUS

12.1 Right to Further Relief. Nothing in this Order abridges the right of
any person to seek its modification by the court in the future.

12.2 Right to Assert Other Objections. By stipulating to the entry of this
Protective Order no Party waives any right it otherwise would have to object
to disclosing or producing any information or item on any ground not
addressed in this Stipulated Protective Order. Similarly, no Party waives any
right to object on any ground to use in evidence of any of the material covered
by this Protective Order.

12.3 Filing Protected Material. Without written permission from the
Designating Party or a court order secured after appropriate notice to all
interested persons, a Party may not file in the public record in this action any
Protected Material. A Party that seeks to file under seal any Protected Material
must comply with Civil Local Rule 79-5. Protected Material may only be filed
under seal pursuant to a court order authorizing the sealing of the specific
Protected Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order
will issue only upon a request establishing that the Protected Material at issue
is privileged, protectable as a trade secret, or otherwise entitled to protection
under the law. If a Receiving Party's request to file Protected Material under
seal pursuant to Civil Local Rule 79-5 is denied by the court, then the
Receiving Party may file the information in the public record pursuantie-Cmt
Lecal Rule 79-5(6}4) unless otherwise instructed by the court.

13. FINAL DISPOSITION
Within 60 days after the final disposition of this action, as defined in

 

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paragraph 4, each Receiving Party must return all Protected Material to the
Producing Party or destroy such material. As used in this subdivision, “all
Protected Material” includes all copies, abstracts, compilations, summaries,
and any other format reproducing or capturing any of the Protected Material.
Whether the Protected Material is returned or destroyed, the Receiving Party
must submit a written certification to the Producing Party (and, if not the same
person or entity, to the Designating Party) by the 60 day deadline that (1)
identifies (by category, where appropriate) all the Protected Material that was

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returned or destroyed and (2) affirms that the Receiving Party has not retained

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any copies, abstracts, compilations, summaries, or any other format

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reproducing or capturing any of the Protected Material. Notwithstanding this

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provision, Counsel are entitled to retain an archival copy of all pleadings,

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motion papers, trial, deposition, and hearing transcripts, legal memoranda,

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correspondence, deposition and trial exhibits, expert reports, attorney work

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product, and consultant and expert work product, even if such materials

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contain Protected Material. Any such archival copies that contain or constitute

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Protected Material remain subject to this Protective Order as set forth in
Section 4 (DURATION).
14. Any violation of this Order may be punished by any and all

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appropriate measures’ including, without limitation, contempt

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proceedings and/or monetary sanctions.

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IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
DATED: November 23, 2021

s/ Meghan George
Attorneys for Plaintiff

DATED: November 23, 2021
s/ Karl S. Kronenberger
Attorneys for Defendant
Local Rule 5-4.3.4(a)(2)(i) Certification
Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of the document attests
that concurrence in the filing of the document has been obtained from each
of the other signatories.

s/ Karl S. Kronenberger
Karl S. Kronenberger

PURSUANT TO STIPULATION, IT IS SO ORDERED.

DATED: November 24, 2021 ~»

Honorable 34 L. Stevenson, United States Magistrate Judge

 

Case No. 2:21-cv-04855-DSF-KS 15 STIP PROTECTIVE ORDER & {PROP,}
ORDER

 
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EXHIBIT A
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
I, [print or type full name], of

 

[print or type full address], declare

 

under penalty of perjury that | have read in its entirety and understand the
Stipulated Protective Order that was issued by the United States District Court
for the Central District of California on [date] in the case of
Nicholas Bontrager v. Mortgage Solutions FCS, Inc., et al., Case No. 2:21-cv-
04855-DSF-KS. | agree to comply with and to be bound by all the terms of
this Stipulated Protective Order and | understand and acknowledge that
failure to so comply could expose me to sanctions and punishment in the
nature of contempt. | solemnly promise that I will not disclose in any manner
any information or item that is subject to this Stipulated Protective Order to
any person or entity except in strict compliance with the provisions of this
Order.

| further agree to submit to the jurisdiction of the United States District
Court for the Central District of California for the purpose of enforcing the

 

terms of this Stipulated Protective Order, even if such enforcement
proceedings occur after termination of this action.

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Case No. 2:21-cv-04855-DSF-KS 16 STIP PROTECTIVE ORDER & {PROP,}

ORDER

 
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1 | hereby appoint [print or type full
2 | name] of [print or type full
3 | address and telephone number] as my California agent for service of process
4 | in connection with this action or any proceedings related to enforcement of
5 | this Stipulated Protective Order.
6
7 | Date:
8 | City and State where sworn and signed:
9

10 | Printed name:

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12 | Signature:

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Case No. 2:21-cv-04855-DSF-KS 17 STIP PROTECTIVE ORDER & PROPS

 

 
